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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

UNITED STATES OF AMERICA

vs.                                                 2:12-cr-81-FtM-29DNF

MARK WILLIAM TROEDEL, JR.
_____________________________


                            OPINION AND ORDER

      This matter comes before the Court on defendant’s Motion to

Vacate Order of Detention (Doc. #26) filed on August 24, 2012.           The

transcript of the arraignment, at which a detention hearing was

denied, was filed (Doc. #33), as well as a Memorandum (Doc. #37) by

defendant and a Response (Doc. #38).

      Defendant Mark William Troedel, Jr. (defendant or Troedel) was

named in    a   two-count   federal   Indictment   (Doc.   #1).      Because

defendant was then confined in the Collier County Jail, the United

States Attorney filed a Petition for Writ of Habeas Corpus Ad

Prosequendum     (Doc.   #5)   seeking   custody    of   defendant    until

completion of all proceedings in the federal case.           A Writ (Doc.

#7) was issued directing defendant to be brought to federal court

on the charge in the Indictment, to be returned to the Collier

County Jail “upon completion of all further proceedings in this

case.”     At the arraignment, the government did not move for

detention but the magistrate judge declined to hold a detention

hearing, finding it would be futile since defendant was in state

custody on unrelated charges.      The magistrate judge agreed to hold
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a detention hearing if defendant resolved his state custody status.

(Doc. #33.)     The Order of Detention Pending Trial (Doc. #21)

stated:   “The Defendant is not currently eligible for release due

to pending matters in another jurisdiction; to wit, the Defendant

is appearing by writ from State custody where he has failed to make

bond on State charges. A motion for conditions of release and a

detention hearing may be filed should the defendant post bond on

the State charges.”     In this appeal, defendant argues that he was

entitled to a detention hearing and release on conditions.

     Upon defendant’s appearance before a judicial officer, the

judicial officer is required to issue an order providing for one of

four release or detention options.        18 U.S.C. § 3142(a).       One of

these options is that defendant be “detained under subsection (e)

of this section.”     18 U.S.C. § 3142(a)(4).      Subsection (e) allows

detention under certain circumstances “after a hearing pursuant to

the provisions of subsection (f) of this section.”            18 U.S.C. §

3142(e)(1).   Subsection (f) requires that “[t]he judicial officer

shall hold a hearing” to determine whether the conditions for an

order of detention have been satisfied.         18 U.S.C. § 3142(f).

     In this case, defendant’s presence in federal court was

obtained by a writ of habeas corpus ad prosequendum.           “The law is

clear in this Circuit that, if a defendant is in state custody and

he is turned over to federal officials for federal prosecution, the

state government's loss of jurisdiction is only temporary . . . A


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writ of habeas corpus ad prosequendum is only a ‘loan’ of the

prisoner to another jurisdiction for criminal proceedings in the

receiving jurisdiction.”      Causey v. Civiletti, 621 F.2d 691, 693

(5th Cir. 1980). Nothing in the statute disqualifies such a person

from receiving a detention hearing.        United States v. Butler, 165

F.R.D. 68, 70 (N.D. Ohio 1996); United States v. Hayes, No. CR-07-

45-HE, 2007 WL 708803 (W.D. Okla. March 2, 2007).        Other cases have

referred to a detention hearing having been held in such situations

without adverse comment.     E.g., United States v. Forrest, 402 F.3d

678 (6th Cir. 2005); Headspeth v. Conley, 126 F. Supp. 2d 1004

(S.D. W. Va. 2001).

     The Court concludes that defendant is entitled to a hearing on

the issue of release or detention, and if detention is sought, to

a detention hearing under § 3142(f).            The Court expresses no

opinion as to whether defendant should be detained or released,

only that he is entitled to a hearing to address the issues.

     Accordingly, it is now

     ORDERED:

     1. Defendant’s Motion to Vacate Order of Detention (Doc. #26)

is GRANTED in part to the extent that defendant is entitled to a

hearing to determine release or detention, and is otherwise DENIED.

     2.    The Order of Detention Pending Trial (Doc. #21) is

VACATED.




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     3.   The matter is recommitted to the magistrate judge to have

a hearing/detention hearing as to defendant’s release on conditions

or detention as to the federal charges.

     DONE AND ORDERED at Fort Myers, Florida, this            9th    day of

October, 2012.




Copies:
U.S. Magistrate Judge
Counsel of Record




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